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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
                                                      MDL No. 2323
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                     Hon. Anita B. Brody


Kevin Turner and Shawn Wooden,                        Civ. Action No. 14-00029-AB
on behalf of themselves and
others similarly situated,
            Plaintiffs,

                 v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
            Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


DECLARATION OF CHRISTOPHER A. SEEGER IN SUPPORT OF OPPOSITION OF
    CO-LEAD CLASS COUNSEL TO MOTION OF THE LOCKS FIRM FOR
        APPOINTMENT OF ADMINISTRATIVE CLASS COUNSEL


       CHRISTOPHER A. SEEGER declares, pursuant to 28 U.S.C. § 1746, based upon his

personal knowledge, information and belief, the following:

       1.       I am a founding member of Seeger Weiss LLP (“Seeger Weiss”) and was appointed

by the Court on April 25, 2012, to serve as Plaintiffs’ Co-Lead Counsel, and as a member of the

Plaintiffs’ Executive Committee (“PEC”) (ECF No. 64). I was the principal negotiator and

architect of the Class Action Settlement dated June 25, 2014, between the Plaintiff Class and the

Defendants National Football League and NFL Properties LLC (ECF No. 6073-2), which was
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preliminarily approved on July 7, 2014 (ECF No. 6084, ¶ 3(b)), amended as of February 13, 2015

(ECF No. 6481-1), and finally approved on April 22, 2015 (ECF No. 6510) (“Settlement” or

“Settlement Agreement”). Upon these approvals of the Settlement, I was first appointed to serve

and then confirmed in my role as Co-Lead Class Counsel.

       2.      I have previously detailed my work as Co-Lead Counsel Counsel, as well as the

work of my firm, in securing the Settlement, and the work performed in the first nine months of

the Settlement’s implementation in my Declaration in Support of Co-Lead Class Counsel’s

Petition for an Award of Attorneys’ Fees, Reimbursement of Costs and Expenses, Adoption of a

Set-Aside of Five Percent of Each Monetary Award and Derivative Claimant Award, and Case

Contribution Awards for Class Representatives (ECF No. 7151-2); my Supplemental Declaration

in further support of the Fee Petition (ECF No. 7464-1); my Declaration in Support of Proposed

Allocation of Common Benefit Attorneys’ Fees, Payment of Common Benefit Expenses, and

Payment of Case Contribution Awards to Class Representatives (ECF No. 8447); and my Omnibus

Reply Declaration in support of the Allocation Recommendation (ECF No. 8934). Those facts

need not be repeated here, and familiarity with them is assumed for purposes of this Declaration.

       3.      Based on my extensive work in securing and effectuating the Settlement, I have

personal knowledge and full familiarity with the matters set forth herein. I submit this Declaration

in opposition to the Motion of the Locks Firm for Appointment of Administrative Class Counsel

(ECF No. 9786) (“Locks Motion”).

      Ramp-Up of Implementation and Status of Monetary Awards for the First Year

       4.      On April 9, 2018, Seeger Weiss as Co-Lead Class Counsel hosted the 88th regular

weekly implementation conference call with the Claims Administrator (BrownGreer PLC), the

Baseline Assessment Program (“BAP”) and Lien Resolution Administrator (Garretson Resolution


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Group), and counsel for the NFL.          These calls are the central platform for coordinating

implementation of the Settlement and were accompanied by other ad hoc calls and

communications focused on particular tasks or problems. Each aspect of the Settlement required,

among other things, the development of the basic documents that were to be used to register and

submit a claim; the establishment of national networks of physicians and medical providers that

would serve as Qualified Monetary Award Fund (“MAF”) Physicians and BAP Providers; and the

institution of policies that would regulate the operations of the Claims, BAP, and Lien Resolution

Administrators.

       5.      Even before the first of regular weekly calls, Co-Lead Class Counsel was engaged

with the Administrators and NFL to begin addressing the innumerable details that this Settlement

entails. As will be discussed in more detail below, Seeger Weiss used the many tools available

under the Settlement Agreement, including the appeals process and petitions to the Special Masters

to shape a program that is delivering the promised benefits to the Settlement Class Members.

       6.      As of April 9, 2018, 377 Notices of Monetary Awards have been sent to Settlement

Class Members, reflecting $411,237,005 in awards, and this number is increasing on a daily basis.

At the close of the first year of the MAF, the Notices of Monetary Awards are already exceeding

the projections for claims in the first year, and claims from the first year are still being approved.

       7.      The Qualifying Diagnoses for Alzheimer’s and dementia (Level 1.5 and Level 2

Neurocognitive Impairment) have been a prime focus for complaints. These too, however, are

being awarded. Over 192 Notices of Monetary Awards for these Qualifying Diagnoses of

Alzheimer’s and dementia have been issued, representing a value of over $202 million. Indeed,

now that the many claims requiring further investigation by the Claims Administrator have been




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identified and distinguished from the others, there has been a marked increase in the approval of

these claims since February.

       8.      Locks contends that the Settlement has not even reached first-year projections, but

does so by myopically focusing only on the checks that have been sent out rather than the larger

number of claims that have been submitted during the first year, including those that are continuing

to be approved and which will be paid in the coming months. While there are many claims that

have been submitted in the first year that have not yet been reviewed on the merits, given the

Notices of Monetary Awards that have already been issued, it is clear that the Settlement is on

track to deliver in excess of the projections for the first five years. The data are available on the

Settlement Website (www.NFLConcussionSettlement.com) and, as of April 9, 2018, reflected that

the Settlement has already exceeded the projected numbers of ALS claims (28 awards with only

17 projected), Parkinson’s claims (61 awards with 14 projected), and Death with CTE claims (61

awards with 51 projected). There have also been 115 Alzheimer’s claims, 43 Level 2 claims, and

71 Level 1.5 claims approved. With over 881 claims for Alzheimer’s and/or dementia from the

first year of the MAF still pending decision, it is evident that these projections, too, will be

exceeded.

       9.      Importantly, since the Locks Motion was filed, 53 new Notices of Monetary Award

have been sent to Settlement Class Members, representing over $63 million in awards, and 45

more payments have been made, totaling over $34 million.

       10.     These successes are largely due to the ongoing efforts of Seeger Weiss. The work

of Seeger Weiss since Final Approval through September 2017 has been discussed at length in the

aforementioned Declarations that were submitted in the course of briefing the Common Benefit

Fee Petition and proposed allocations.



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             Seeger Weiss’ Leadership and Accomplishments in Implementation

       11.     For the purposes of the present motion, several of the more recent accomplishments

by Seeger Weiss require particular attention and address many of the ill-considered claims made

by Locks and some of the firms joining in the motion about the failure of the Settlement Program

under Seeger Weiss’ leadership. Seeger Weiss has successfully driven the Settlement in the

interest of the Settlement Class.

       12.     As an unprecedented undertaking in terms of measuring neurocognitive impairment

for thousands of Class Members, the Settlement presented challenges in initial implementation and

the commencement of benefits required substantial undertakings. This can easily be illustrated by

the need to establish and train two national networks of physicians and a Monetary Award program

that will be in operation for 65 years. Importantly, the awards are sizeable, ranging up to $5 million.

Given the Settlement program’s uncapped structure, to secure the integrity of the Settlement,

Seeger Weiss further needed to appropriately balance and address the potential for unfounded

claims while protecting the rights and claims of otherwise worthy Settlement Class Members. As

the implementation continued under the leadership of Seeger Weiss, the Settlement has come to

deliver the negotiated benefits to the Settlement Class. Among the points on which Seeger Weiss

provided leadership are the following.

       13.     The Earlier Date for a Qualifying Diagnosis. The question of determining the

date of a Qualifying Diagnosis had been an issue from the beginning of the claims process. The

issue is significant because once a player reaches the age of 45, his monetary award decreases

every year. A difference of even one year can translate into a substantial difference in the amount

of a Monetary Award. The NFL’s position was, and still is, that the earliest the date of diagnosis

can be is the date that the diagnosing physician first personally examined the player. It was my


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position, however – as reflected in briefing for the Special Masters on the issue – that diagnosing

physicians, based on their personal examination of the player, as well as a review of that player’s

existing medical records, may properly determine that the player suffered from a Qualifying

Diagnosis on a date earlier than the initial personal examination by the diagnosing physician, and

that diagnosing physicians should be able to use that earlier date if they think that it is

appropriate. The Special Masters accepted my position in the FAQs that they promulgated in early

February 2018. Specifically, FAQ 93 allows physicians to use their “sound clinical medical

judgment” to determine that the player’s diagnosed conditions “existed at a date earlier than the

date of personal examination of the Player by the physician making the diagnosis and signing the

DPC [Diagnosing Physician Certification (“DPC”) (i.e., medical certification)] form.”

       14.     MAF Physicians’ Ability to Rely on Historic Neuropsychological Records. The

Settling Parties had differing views as to whether Qualified MAF Physicians could rely on historic

neuropsychological testing when making a dementia diagnoses (Level 1.5 and Level 2), or whether

they were required to send the player for new neuropsychological testing. This testing included

earlier neuropsychological testing for one of the NFL benefit plans, such as the 88 Plan. The

NFL’s position was that a Qualified MAF Physician could rely only on neuropsychological testing

that was conducted at the direction of the Qualified MAF Physician. Seeger Weiss advocated,

through submissions before the Special Masters, to recognize and respect the medical judgment of

the Qualified MAF Physicians and enabling them to rely on historic neuropsychological testing if

they found it to be reliable, particularly when the testing was part of one of the NFL benefits plans.

The Special Masters accepted this position and FAQ 102 now gives the Claims Administrator the

discretion “to decide whether to accept neuropsychological testing from other sources based on

the unique facts and circumstances of a particular claim” so long as it is less than 12 months



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old. Similarly, FAQs 93 and 111 permit the use of earlier neuropsychological testing under the 88

Plan or another NFL benefit plan.

       15.     Ensuring Fairness and Efficiency While Seeking the Production of Raw

Scores. The NFL’s position was that the raw scores from the player’s neuropsychological testing

must be provided in order for a claim to be complete. Failure to provide the raw scores would

result in the claim being denied. Although Seeger Weiss recognized the potential relevance of raw

scores in assessing a claim, Co-Lead Class Counsel further maintained that it would be unfair to

penalize a player by denying his claim simply because his neuropsychologist is unable to provide

raw scores or delaying the processing of his claim pending such production. The Special Masters

agreed with this position and, in accordance with FAQ 105, raw scores are not required “unless

the AAP doctor or the Claims Administrator determines they are necessary.”

       16.     Accommodating the “Unavailability” of Diagnosing Physician or Medical

Records. Under the Settlement Agreement, one of the few express exceptions to the requirement

that the player submit a Diagnosing Physician Certification from the Diagnosing Physician is if

the Diagnosing Physician died, or was declared incompetent or legally incapacitated before the

Effective Date. Similarly, the only exception to the requirement that the player submit medical

records reflecting the claimed diagnosis was if the records were destroyed by a force majeure type

event. For every claim that fit easily into these exceptions, there were some where the diagnosing

physician is still alive and competent but unavailable as a practical matter, or where medical

records are no longer available due to a variety of reasons, including routine destruction of older

records. These claims were vulnerable to denial under the terms of the Settlement Agreement.

Seeger Weiss was initially able to secure the NFL’s consent to look at such circumstances on a

case-by-case basis rather than categorically rejecting claims affected by them, and Seeger Weiss



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dedicated many hours to reviewing each Claim Package and negotiating with the NFL. The claims

in which Seeger Weiss successfully negotiated an accommodation of a claim based on a living and

competent yet unavailable physician or missing medical records included claims submitted by

Locks, Anapol, Pope McGlamry, Goldberg Persky, and many unrepresented Settlement Class

Members.     In some of these claims, Seeger Weiss had disputes with the NFL that were

irreconcilable – either because of the burden placed on the Settlement Class Member by the only

accommodation that the NFL was willing to offer or because of the NFL’s refusal to offer an

accommodation. The Special Masters ultimately took up this issue and, in FAQ 115, gave the

Claims Administrator the discretion to decide whether the Diagnosing Physician Certification and

medical records requirements should be excused in particular cases.

       17.     Providing for the Downgrading of Qualifying Diagnoses to Speed Awards.

Early on in the claims process Seeger Weiss realized that there would be situations in which a

player’s claim might be denied with respect to the asserted Qualifying Diagnosis, but that there

would be sufficient evidence in the Claim Package to support a different Qualifying Diagnosis.

For example, a player submits a claim for Level 2 Neurocognitive Impairment (moderate dementia)

but the evidence supports only a Level 1.5 Neurocognitive Impairment (early dementia). Under

the Settlement Agreement, that claim would be subject to denial and the player would need to file

a de novo claim for a Monetary Award based on an asserted Level 1.5 Neurocognitive Impairment.

Accordingly, in an effort to streamline the process and avoid needless appeals, Co-Lead Class

Counsel proposed that the AAP should have the ability to approve a claim for a lesser Qualifying

Diagnosis or for the asserted Qualifying Diagnosis but with a later diagnosis date. After much

negotiation, the NFL agreed, in part, to “downgrading,” but only in very limited circumstances.




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As a result, Seeger Weiss raised the issue with the Special Masters, who agreed and, pursuant to

FAQ 137, gave the AAP the discretion to “downgrade” claims without restriction.

       18.     The Definition of “Eligible Season” and the Full 53-Man Active List. At the

heart of the Settlement’s benefits is the “Eligible Season,” which stands as a proxy for exposure to

concussive and sub-concussive hits. The number of Eligible Seasons is, thus, a key driver in the

amount of a Monetary Award and drives a Retired NFL Football Player’s eligibility for

participation in the BAP. A full Eligible Season is earned for each year that a Retired NFL Football

Player was on the Active List for at least three games. The NFL, however, took the rigid position

that uninjured players who were listed as “inactive” on game day would earn nothing toward an

Eligible Season, even though they were shoulder-to-shoulder in practice all week with all of the

other Active List players. As the Court is aware, Seeger Weiss advocated for parity in treatment

of all Retired Players on the Active List up to game day. After Seeger Weiss prevailed on behalf

of the Settlement Class Members before the Special Master (ECF No. 9713), the NFL filed

objections to the Special Master’s Ruling in this Court (ECF No. 9754-1). The Court overruled

that objection, making the final and binding determination that the more reasonable (and expansive)

definition of “Active List” should apply (ECF No. 9754). This victory has already resulted in a

substantial increase in one Monetary Award and has increased the number of players eligible for

the BAP.

       19.     In addition to these sorts of global undertakings for the Settlement Class Members,

Seeger Weiss has an intimate and sophisticated a relationship with the workings of the Settlement

program. Seeger Weiss has individual clients, but, as Co-Lead Class Counsel is often the go-to

source for unrepresented Settlement Class Members who need guidance. Similarly, Co-Lead Class

Counsel is tracking each Notice of Monetary Award and Notice of Denial of Monetary Award to



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ensure their accuracy and to identify issues that may need to be addressed in the wider Settlement

program. This process has, for example, led to the identification of missing Eligible Seasons or

the use of the wrong age of a player in the calculation of Monetary Awards for certain claims, and

corresponding increases in dollars received by Class Members. Finally, Seeger Weiss tracks each

appeal that is taken by either Settlement Class Members or the NFL. This allows Seeger Weiss to

identify issues that have wider ramifications in the Settlement and may need to be addressed by a

Statement of Co-Lead Class Counsel in support of the Settlement Class Member. Also, Seeger

Weiss works very closely with Settlement Class Members who are facing the appeals process to

help them prepare the best submission that they can – either for their own appeal or to oppose an

appeal by the NFL. Therefore, Locks’ statement that Seeger Weiss lacks “day to day incentive to

engage in aggressive advocacy on behalf of players” is baseless. Locks Motion ¶ 60(f).

        Locks Neglects to Mention His Role in Matters About Which He Complains

       20.     These and many other accomplishments by Seeger Weiss were known to Locks and

the other Class Counsel who joined in the Locks Motion. Yet no mention is made of these facts

by Locks or the firms that filed Joinders. Seeger Weiss included Class Counsel (including Locks,

Anapol and Podhurst) in the implementation process, including regular calls and in-person

meetings for open discussions of on-going Settlement implementation issues as they arose. They

were asked for input on the fundamental forms to be used in the claims process, in proposing

candidates and in review of candidates’ credentials for the BAP and MAF networks, as well as for

the Appeals Advisory Panel (“AAP”) and Appeals Advisory Panel Consultants (“AAPC”). Indeed,

in the regular calls that Seeger Weiss began to host with the other Class Counsel, the above-

mentioned issues, and the status, positions, and arguments being made in support of the players

were all discussed up to less than two weeks before the Locks Motion was filed. Class Counsel,



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including Locks reviewed and were able to provide edits to the opposition to the X1Law Motion.

A true and correct copy of the email from the Locks Firm to Seeger Weiss reflecting this

participation is attached hereto as Exhibit A.

       21.     In marshaling candidates for consideration for the AAP and the AAPC slots, Seeger

Weiss reached out on several occasions to Class Counsel, including Locks. Similarly, as the NFL

proposed candidates for the AAP and the AAPC, Seeger Weiss sought the input of Class Counsel,

including Locks. Ultimately, each side in the process worked through the qualifications and

backgrounds of over 40 possible candidates, reduced that to a smaller pool whom the parties

interviewed, and then reached a final slate of candidates that were presented to the Court for

appointment along with a common “reasonable rate” that was based on the compensation each of

the candidates reported they would typically accept for such an engagement. The qualifications

of these candidates speak for themselves and include two who were originally proposed by Locks.

His complaints at this late date about the composition of the AAP and AAPC or their members’

compensation are not only untimely, but also peculiar given the appointment of two of the

candidates whom he recommended in the first place.

       22.     When the volume of claims, like registrations, exceeded projections, and one

member of the AAP was not able to dedicate sufficient time to his responsibilities, the decision

was made to remove one member of the AAP and add two new members. The same process used

in the initial selection of members was followed. We identified candidates, including those

proposed by Locks and other Class Counsel. The Parties then engaged in a review of the

candidates and ultimately reached an agreement on two candidates, who were submitted to the

Court for consideration.




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       23.      The Locks Motion completely neglects this second effort by Seeger Weiss to not

only ensure a fully productive AAP, but to augment the AAP’s ranks in order to increase its

capacity. Locks also neglects its own role in the process, except to complain that three of its other

candidates did not end up on the AAP.          One of those candidates, though, made clear in

conversations with the parties that he was not really looking for new engagements but would

possibly consider the opportunity, but for a rate far in excess of the “reasonable rate” ultimately

approved by the Court (and accepted by every other candidate). The second candidate was

originally suggested by the NFL. The third candidate was not viable because he was plainly

conflicted, having been involved in a multi-year “Consultantship” with Locks from 2015-17.

Finally, Locks’ suggestion that candidacies were jeopardized if a neurologist had treated a player

is simply false. One of the current members had treated and diagnosed a player who is a Settlement

Class Member. There can be no dispute that all of the candidates approved by the Court are

qualified to serve on the AAP or AAPC.

       24.      Contrary to Locks’ assertion, the AAP has not failed. Since they were appointed

on March 5, 2018 (ECF No. 9753), the new members of the AAP were quickly brought up to speed

on their duties, and they have already enabled that body to increase the number of claims that it is

reviewing on a weekly basis.

             The Examples Locks Raises Provide Not Support for the Locks Motion

       25.      Locks points to its November 6, 2017 memorandum to the Claims Administrator

(“November Memo”) to argue that its efforts leading up to the filing of the Locks Motion have

been ignored. What Locks omits from his recitation to the Court, however, is that I swiftly

prepared a reply to Locks, addressing each of the complaints raised. I attach a true and correct

copy of my reply to the November Memo as Exhibit B. In addition, I had hosted an earlier meeting


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in my offices in September 2017 with Locks and the other Class Counsel to discuss these and any

other issues that they had. I and my firm always emphasized open communication with respect to

the Settlement.

       26.     Locks offers the case of Mr. Radloff to show that the claims process is not working.

To the contrary, Mr. Radloff’s situation demonstrates that it is. Mr. Radloff’s claim was approved

and he received a Notice of Monetary Award. The Anapol Weiss firm filed a Motion for a Hearing

to Seek Court Intervention of the Processing of Certain Claims the day prior to the Locks Motion,

based solely on the pending claim of Mr. Radloff. ECF No. 9784. Anapol Weiss complained

about the time that Mr. Radloff has been waiting for his claim to be determined, but neglected to

offer that Mr. Radloff’s claim involved an “Unavailable Physician” (discussed above), which

required special accommodation (or the prospect of possible denial). Once accommodation of the

claim was reached through the efforts of Co-Lead Class Counsel, the claim was presented to the

AAP for review and, on the Saturday before the Anapol Motion was filed, was approved by the

AAP. When the Notice of Monetary Award was sent to Mr. Radloff, Anapol immediately had to

withdraw its motion as moot. ECF No. 9788.

       27.     Similarly, Locks focuses on one isolated example to argue that the audit process is

not working. On March 23, 2018, shortly after Locks filed the instant motion, the audit that Locks

describes was closed in due course and the Settlement Class Member was paid.

       28.     The Anapol Motion and the Locks Motion were both joined in by attorney Craig

Mitnick. ECF Nos. 9785, 9834. In both Joinders, Mr. Mitnick offers up anecdotes concerning

two of his clients to show that there is a problem with delay. In Mr. Mitnick’s case, the delay was

largely his own creation. For the first player that he discussed, in May 2017, Mr. Mitnick had

submitted the Claim Package with a Diagnosing Physician Certification by someone who was not



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qualified. Only three months later, in August 2017, this claim was denied in due course as a result

of Mr. Mitnick’s error. When he resubmitted his client’s claim with a new Claim Package in

March 2018, with a Diagnosing Physician Certification signed by a different medical provider, it

was subject to immediate audit as part of the fraud prevention provisions of the Settlement

Agreement. See Settlement Agreement § 10.3(d)(i)           Notably, although the initial claim was

processed in three months, Mr. Mitnick took seven months to file the new claim for his client.

       29.     The story concerning the claim of the second player that Mr. Mitnick discusses is

equally a story about his own delay. Mitnick originally submitted a deficient Claim Package in

May 2017. Mr. Mitnick quickly received a notice requesting additional records. Over the next

several months, Mr. Mitnick slowly provided the additional documentation that was requested,

culminating in December 2017 when Mr. Mitnick submitted an updated Diagnosing Physician

Certification, which contained a different diagnosis date than the original Diagnosing Physician

Certification. Only 5 days later, after he finally cured all the deficiencies in his client’s claim and

provided a correct Diagnosing Physician Certification, the Claims Administrator approved the

claim and issued a Notice of Monetary Award Determination.

          Locks Is Not Fit for the Proposed Role of “Administrative Class Counsel”

       30.     As the Court is aware, Seeger Weiss has led the investigation of funders who

entered into prohibited assignments with Settlement Class Members. While our discovery to date

has been limited, I have learned that Locks has acknowledged and signed off on at least 28 funding

agreements that assigned all or part of 16 of its clients’ claims. In all, these known assignments

relate to over $1.5 million in advances to these players, which when the exorbitant interest rates

are applied would have resulted in these Class Members owing funders double or more the

amounts advanced. The interest rates presented in the assignment agreements are deceptive in that


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they are monthly and not annual rates, with monthly compounding. Some of the underlying

interest rates are as high as 2.75% compounded monthly. At first glance, this may seem like a low

interest rate, but with monthly compounding the rate translates to an effective annual interest rate

in excess of 38% for the first year, and grows exponentially in subsequent years. For example, if

a Class Member received an advance of $100,000 in April 2016, at a 2.75% monthly compounded

interest rate, now, two years later, he would owe the funder over $191,000 – almost double the

amount advanced. Should the retired player not obtain a Qualifying Diagnosis and corresponding

monetary award until April 2019, he would owe the funder over $265,000. There could very well

be more such assignments under Locks’ watch.

        31.     In its role as Co-Lead Class Counsel, Seeger Weiss, like the Claims Administrator,

receives calls from Locks’ clients on a regular basis (far more than other firms’ clients), relating

to concerns or complaints about Locks’ representation, most typically that Locks is simply not

returning their calls.

        32.     After the Settlement became effective, Locks quickly undermined confidence in the

program by spreading inaccuracies about its implementation. As the Court is aware, a Settlement

Class Member, Fred Willis, principal of HPN Neurologic, and a client of Locks, has been sending

around misrepresentations about the Settlement ever since it became effective. See, e.g., ECF Nos.

7151, 7842. Mr. Willis maintained a Settlement-related blog (“NFL Players Brains Matter”) and

sends regular blast emails to an expansive list of Settlement Class Members about the Settlement.

Even before the BAP launched in June 2017, Mr. Willis sent out an alert that the BAP was being

delayed. A true and correct copy of this email to one of the Settlement Class Members is attached

hereto as Exhibit C. The alert was based on information received from “one of the top Lawfirms

in the NFL Concussion Settlement.”



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       33.     Seeger Weiss learned from an email from Mr. Willis that the misinformation that

Mr. Willis spread, at least in this instance, came directly from Locks, whom Mr. Willis described

in his email as “one of the top Law firms in the NFL Concussion Settlement.” A true and correct

copy of Mr. Willis’ email to my firm, including the embedded email that Willis received from

Locks, is attached hereto as Exhibit D.

       34.     This was not the first of Locks’ misfeasance of this type in the litigation. Early in

the settlement negotiations, when he was on the settlement committee, Locks saw fit to reach out

to the press and talk about the status of the litigation despite an agreement of confidentiality. The

Locks “leak” needlessly compromised and delayed negotiations while Co-Lead Class Counsel

worked to restore Plaintiffs’ credibility.

                            Locks’ Allies Do Not Advance His Cause

       35.     A handful of firms have joined in the Locks Motion 1 – which is far from impressive

given that the Settlement involves over 413 law firms and 11,007 unrepresented Settlement Class

Members, 2 and two of those firms have already withdrawn their Joinder. An examination of those

remaining firms’ submissions and data on their clients quickly shows three things: (i) the

Settlement is working; (ii) they provide no genuine support for Locks; and (iii) if anything, the

Joinder of certain firms should give the Court pause.

       36.     First, the Settlement is working. Among the firms filing Joinders, there are 172

claims involving their clients that have been approved, representing nearly $173 million in

Monetary Awards noticed. Indeed, Kreindler has already had 6 of its 9 claims approved, Casey


1
      Shorthand definitions of the various Joinders and their filers are set forth in the
accompanying memorandum of law in opposition to the Locks Motion.
2
       To date, 122 firms have filed claims for their clients and 677 unrepresented Settlement
Class Members have submitted claims.

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Gerry has had its one claim approved, and Mr. Mitnick has had 8 of his 13 claims approved.

Complaints from various law firms that the Settlement is becoming filled with onerous burdens or,

as Locks put it, a “labyrinth” is sheer hyperbole that can quickly be dispelled by the simple fact

that 81 unrepresented Settlement Class Members have already received awards.

       37.     Second, the Joinders lend no genuine support to the Locks Motion. Some of these

firms do not even have clients of their own or have no claims pending, so their support for the

Locks Motion is rather meaningless. These include Casey Gerry, whose only claim to date has

been paid; Franco, which has filed no claims; Hagen, which has not registered for any players,

McCorvey, which has filed no claims; and Russomanno (which is only listed in the Goldberg

Persky Joinder).

       38.     Third, the involvement of some of the firms that filed Joinders should give the Court

pause. As with Locks’ clients, Seeger Weiss and the Claims Administrator receive regular

communications from some of these firms’ clients with questions and related complaints that their

own lawyers are not returning their calls. These include, most notably, Goldberg Persky, Kreindler,

Mitnick, Pope McGlamry, and Provost.

       39.     Moreover, based on Seeger Weiss’ investigation to date, Locks and many of the

Joinder firms have signed off on 138 funding assignments of the claims of 99 of their clients,

representing advances of over $5,600,000. Two firms that have joined in the Locks Motion went

over and above the simple act of signing assignments on behalf of their clients. Mitnick actually

solicited for Thrivest, one of the most notorious funders known to Co-Lead Class Counsel in the

Settlement. A true and correct copy of an email solicitation from Mitnick to a Settlement Class

Member is attached hereto as Exhibit E. The other, Hakimi (f/k/a Top NFL Lawyers) was also

initially engaged in a side business of seeking investors to fund lending arrangements with players,



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promising returns of nearly 80%. A true and correct copy of a related news article describing that

side business is attached hereto as Exhibit F.

       40.     Yet others are dragging out the claims process for their own clients by not

responding to requests from the Claims Administrator for months at a time, resulting in above

average response times (even greater than those of unrepresented Settlement Class Members).

These include Zimmerman, Girardi, Kreindler and Wyatt.

       41.     More disturbingly, a few of the firms have either clients’ claims under formal audit,

or they themselves are under formal audit.          Because of the sensitivity of these ongoing

investigations, I will not provide details of these audit investigations here, but stand ready to do so

in camera if the Court desires that information. In all, there are over 356 claims in audit for Locks

and the firms who have filed Joinders. These include the firms that submitted claims supported by

a neuropsychologist, Dr. Serena Hoover, who has been banned from the Settlement Program for

her conduct in evaluating players. Many of these firms have only a handful of claims in audit, but

others, such as Hakimi (f/k/a Top NFL Lawyers), Smith & Stallworth, and Neurocognitive

Lawyers account for a whopping 258 of these claims in audit. To be sure, some firms with claims

pending have no claims in audit, including Girardi, Kreindler, and Provost.

       42.     Finally, with respect toZimmerman’s concern with the requirement that the

diagnosing physician needs to actually see the player in the course of rendering a diagnosis, I spoke

with attorneys at Zimmerman in September 2017 about this very issue. Although there were

treating physicians for many of Zimmerman’s clients, Zimmerman decided to hire a neurologist

to review each of the players’ medical records and complete a Diagnosing Physician Certification.

No other firm undertook this practice. As I explained to the Zimmerman firm last September, this




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Settlement program is not one where medical records are simply submitted for review by the AAP

or the Claims Administrator along with a Claim Form.

       43.    I declare under penalty of perjury that the foregoing is true and correct.



                                             Executed this 13th day of April, 2018.

                                             /s/ Christopher A. Seeger
                                             _________________________________
                                             CHRISTOPHER A. SEEGER
                                             Co-Lead Class Counsel




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